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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIvIsIoN

CLERK’S MINUTES - GENERAL

 

 

 

 

CASE NO. CRll7-034 DATE June 13, 2018
USA V. REALITY LEIGH WINNER

TITLE
TIMES 11:00 am - 11:18 pm TOTAL 18 min.
M
Honorable : Brian K. Epps, United States Magistrate Judge Courtroom Deputy : Lisa Widener
Court Reporter : FTR lnterpreter :

Attomey for Govemment Attomey for Defendant(s) Attorney for
Julle Edclstein .loe D. Whitley Carli Rodriguez-Feo, ClSO
David Aaron John C. Bell, .lr.
Jenni[er Solari Titus T. Nlchols

Brett A. Switzer
Katherine Mannino

 

 

PROCEEDIN GS = TELEPHONIC sTATUs coNFERENcE 111 C°“ff

|:| In Chambers

Status Conference held

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Rcv 7/2003) GENERAL CLERK’S MINUTES

